Case
 Case1:14-ml-02570-RLY-TAB
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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 __________________________________________

 In Re: COOK MEDICAL, INC., IVC FILTERS                        Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND                                                  MDL No. 2570
 PRODUCTS LIABILITY LITIGATION
 __________________________________________

 This Document Relates to:

 Igor Khasidov

 Civil Case # 1:16-cv-02562-RLY-TAB
 __________________________________________


                                           ORDER

        Before the Court is the Parties’ Joint Stipulation of Dismissal With Prejudice, filed on June

 20, 2023. The Parties stipulate and agreed that the above-captioned case be dismissed with

 prejudice, with each party to bear its own costs. (See, Fed. R. Civ. P. 41(a)(1)(A)(ii)).

        IT IS ORDERED that the case is hereby CLOSED.

        SO ORDERED this 12th day of July 2023.




                                                                United States District Judge




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